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                            EXHIBIT B




Notice of Removal
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                                                                                                      $l?,znH'           a'r¡r't14'    I

                                                                                           '1ilffi,r'oy KttcHFBrr   Bitt¡løl    C     rt''
                                                                                                     äøtttlgt?   tnl¡iit\ '''
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                                                  x'CVDV"1ß't00043{

                                                              s                      IN IT{E DICÍRICT COURT --r-'-#
          WLLIAM G. }GNOi¡X
                                                              f;
                                                              $                    lPqLJUDlctÀr olsritct
           vs.                                                *
                                                               $                                                                             .,

           MTIIOPOL'TAN LLOYDT FIEURAF¡CË                     $
           ËOMPANY OF TËIGF                                    $                   ËAIIDERA     C   OUI{TY, ÎEXA8




           TO THE HONORABLË.JUDOË OF 8AIÞ COURT:
           ,      NOW 0OMES W|LLIAM            6, HEfì|ÞRlX, hrrlnelter   cefled Phlntllï, comPhlnlng of end aboul


           ÍI,IETROFOLITAN LLOyDt        lNtußA)¡cE coMpAl{f o¡ lEXÀÜ, herelnrftrr c¡lbd Drfenthnl,
                                                                                                                                             I
           end for caugeof actiorl, war¡td show unlo the Oourt lha f0llowing,



                  plalnlff, t flLuAftl C. HENDRIX ra¡ldr¡ ln B¡ndøru, Bend¡n Courtty, Tcxar. Fhlntlffs

           TE¡ta¡ drivcf s   llcsn¡r numbÊr   lB 0SS44ûúS and    Plrintllfs ¡oclal ¡¿curlV numb6¡    13   xrcxi,u'1¡lö7.

                  Ðefendnnl, IilEIROÞOLITAN           LLOlllE         INSURAI{CE GAMFAf{Y OF          fHßtl         ls    En


           in¡u¡anc¿ cômpgoy euthorlrrd by       tt¡fulo to eell lnruranca wllhln thl St¡h of Taut, and hsvlng

           a llo¡nEe änd p6Ínll to do      so,   $ervfcE   of procass rnly b. hsd by *rrulng cltllhn upon                 itË


           rcglrlered ggønt for errvlcr:   QT    Corpontton Eyetrrm, 19gl Eryrn Etnrt, Sulto e00, D¡lhr,

           TÞxãtr 75101 .0130.

                                                                It,

                  Thls caug. ol astlûn ârÞûr     h Blnder¡, Brndora frunty, Tuas; thsnforÊ. vsnug l¡              Prop€r

           tn Erndera Counly, Iexao pureuünl l0 thê T¡xsa Clvil           hrdlor   and Remtdht Codl, $çotions

           1s.002, 13,015 end 16'0151.
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                                                                       ]il,

                                                                                   llmlt¡ of thle oouil rnd
                   The amounl tn conlrovErey far c:oaedc tha r¡inÍmalfudrdlclionrl

           dnmngee exoccd        $1   00,000,00.

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                                                                                    compllanoewitht'rvtl
                   Pr¡rsuenlto T.R.c.F, 1Ð0.4 thlc par$lntendu loconductdl¡Çovöry¡n

           3, End ro¡pectfully rcqurets th¡s Gourt          lnþr    ð dockct conlrol orde¡ ln thls matlat'

                                                                       v.

                                                '
                                                    l#ËL$#tr¡F qf,,ìtül't¡ls[          äfr ¡]ffi a

                   On or ¡bout Aprll 11, 4015, Plaintlffwa¡ lnvolvrd ln                 r   oolliolon wllh John N. Novak, Jr, Al

                                                                                            dilvæ e* lhat                     tem
           the time   tf   lhü ôoourtensê, John N, Novak, Jr., was rn uninswEdlundrr{nturud

           is d¡fined under th¡ pÞ¡cy êf lflsurrnor lEeuod to Plrlntifiby
                                                                          Dstendrnt, Suoh Þo¡lty 0f ln¡unncc

                 In full IOrCE and     cflrot d the    Umê of tha   ocournllo¡        ln qucsl'ton'
           wat

                    On thö datê and        ltn¡ sf tha ocêuilsnaa,            Pl¡lntlfl wrs legdlng ln the 600 blgok of Maln

            Strce¡n    Êlåndênn, H¡nderu ôounly, Texe¡, when JohnN, NoviâI,                   Jr.suddrnlysndt rllhoulwanlng'

                                                                                                  snd Pcc¡n $lræt'
            frllrd to etsp for tr¿f,ic and ßåÉ.endcd Pl¡tntlff rt lhe lntcrscdlolr of hhln Ë|ruøt

                      on ths úEtê     End ilme õf    thr oosulYÉnça, Joltn N. Novek, Jr,, wgr ntgllg8nt         ln   lh9 oPalliolt,

                                                                               followlng tutpe0tr:
            ,ñrlntenanos ånd/or use of hl¡ motor vehlclE ln one or more ol ttn

                      1,       In frltlng lo nalntaln ä Proptf loôkor¡t el en odlnary,
                                                                 oFcümíânce¡ì
                                                                                       prudent PËrmr\ would hnve
                               dons¡ndrl tne mrfig or rlmllsr

                      2.       ln falling lo obaerur aÞproprlrto träflÌt FlgrÜlE Enülor tr¡ffl0 ElgrßgËl

                      t,                                                m¡ffitf eg ¡n ordlnÉry, prudent                     prr$n
                               In frílls$ ts üp¡$tt e¿ld rchlds ln å            $ft
                               wuutd iíavo ¿bnç urdär lm filrñc ór ¡lml¡rl ölr$$$dËnosüi

                      4.       ln fEfling lo   r¡¿lnhi¡ an assuråd olcrrdlglancoì

                      6.       ln trk¡ng faullY      cvtsivr ¡ctlcnÌ

                                                                        -4-
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                    6.      ln futllng to avoid the colli¡ionl

                    7.      lnlravelin9glencxc08¡fVsr¡ttof¡ps6dlothtuondTliorrthEnç$¡tlngi-,--æ*_
                                                                                                :
                    0,      tn falllng to apply EnfÍohnt cnd     tinrly tur$ to the brrlras to evold tho      collicioru
                            ln frtllng to turn thc vËt4lc{E ¡o ¡¡6Inß or dght ln onler
                                                                                       to   awld lhe oolllelon;
                    9,

                     10.    ln lalllng to mÉlñtrln   n¡¡onabla oontrolof the      vehlolri                                        :
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                                                                               tnd   proviaions of thr   îrxe¡ Drlvl/ 3
                     lf,    ln fatllng to óbEsNå thocc appllc¡blr trrm¡
                            6rn¿5s¡¡;    and                                                                                      ;




                     12.           ls üb¡ervü lho*e aþptlurUla rmllpnr of lho ître¡.Tpnrnorfuffon
                            tn fsfllns
                                                                                                                     Çodt         :




                            äffiffiä-,ñr;il;,ï;î sdü vghiçlt, itduüns but nctlirnlhd bca*aln ercllwt*
                            Häåjlii:iåål¿iñ-in*-åi"",ä¡ëhfsti¡ttamdlt¡lþsnã#liçän6mdnrsflsststp$                                  ;



                            râ.
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           Ftaln$ïlnnowBycgnuiþu,Hdtooau¡¡theoccur¡çncelnqustlon'
                                            c¡ussd by thê flllur€ of John N' Nov¡k, Jr-.     to   lxrrclsl   ordìnÐry   cår'
           tn qualtion was pfoxlmnlcly

                                                           of æmmpn              llw, tl¡tutrs    end ocd¡¡ of thc   Ëtrt¡
           0n lhD oecsslon in qur:$on ¿nd þy hl¡ vlolallon

           of    Ta¡¡s, suslr acllons sf both omlc¡lorr andlor oomnledon unn 'and arl
                                                                                      r                pruduclng rnd/or

                                                                                               b¡low,
           pruxlm¡te caure ot pleinilfl's msulting hiuriàt end damlges ô8 rnor6 fulty satforth
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                     Al tho llmc of the coltlCon m¡de the b¡sls of thf* lgwsuil,
                                                                                     msl¡lmlnc¡ 0r usc
            cruled by bodlly lnlury ¡nd propcñy dsmaEë. reaulllng fmm lh¡ owntilhlp¡
                                                                                  byiTETROFOLTTAN l.,LOYog
            of   rn0nlnourcd/undcrlnsurud vrhlcle by a potlcy of lrraunnoais*r¡td
                                                                                   ggeersezS{. The undslneured
            TNSUMNCE oOMpANy OF TËXAS undrr polioy number

                                              ¡Þow prov{tled Þr        bodily lnlury oorreragr¡' loruÀlch pnrnlumr       hrd
            motorlsl cOvêr¡0c mtntlonrd

            bren pald to the Delendrnl'




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                                                                       vll'

                                                 t#;rTtÅr Fäsgpt*åL.Tñt*#*rW#ç*,

                    upon the tflat of lhls oaee. lt wlil b8 ohown lhrt Plalntlllwar
                                                                                    c¡usrd lo suslsln lnJurles arrd

           dtmagos f,g r prÕrfmglê rosult of ths n¡lllgenoe dnrodb¡d
                                                                     ¡bovc, Phinliff wlll nqussl lhe court

           and thr Jsry to deterrnlno thc rmor¡nt of loe¡            lh¡t Fhlnt¡'ff h¡s lnçuned ln the paal and thåt hô wlll

           ìncur   l¡   the future, noî only from e llnancigl slandpdint, but ðlE9 ¡|!               lelru of good           haolth end

                                                                              h.vr theJury    in thl¡    cö¡¡ lçaralely consldêr
           fra¡dom from paln and worry, PlalntiÍl ls enlllled tö
                                                                                 money for Eeoh Elemrnt
           c¡rtaln ¡leme nts of damagc prwlded by flw and lo dËhrmlh0 thr aum of

           lhgf r¡¡ll lalily and rtasonrbly corflÞånËatt Pl¡lntll fOr hb inlurloE,
                                                                                   drmrgçr end lo¡ssa Incurnd

                    br íncuffËd, Elam¡nle of drmgea lrom lhr d¡lç of lhc êolllslgn                       ln quettlon unlil       lhrtlmr
           and to
                                                                             åre å8 follot¡¡s;
           of trlsl of {his crçe ond ln the futuru beyond ths tlmo ol trlal,

                        E.    Rçs*pmhloand'ncew¡uyn¡sdlualrxpensuulnoutrtdlnlhutrc$münlof
                                                                                                                                FhlnllFs
                              irüur6, ñüiú;å;üirhå,¿oxlçion tp tirr üm*uf lrl*lffid¡n thof$rur*, bovundrlhs
                              tlrns ol lrlel¡

                        b.    Fftyeþal paln that Fleint¡S sr¡ltsrsdrfrorn the         d¡lr ol the colllslon b             the tlm¡ of   ttl¡l
                        -     änã lå lfià füttj¡€, btyand Sra tf¡nl'of lrlalì

                        c.    tg*nrql sagu?sh thnl FlElntlff ruffsr¡d fiom llu         d¡lt   of   llç   c¡llleìo¡   to   the llns ot tt¡sl
                              rylO ln lhe-fulura, þeyrrd th¡ limt of fl¡l¡

                        d,    $øa{ng ond dlsfìsurrflsrt,utTlued by Plrinllff frortr.lh¡ deþ of lhe colllcbn to
                                                                         llrp    lrlðl;
                                                                                                               lhr
                              ilnrç otilal snd ln tia hltrl+, br¡ond tha      0f


                        ç.    phyeløt fuirpairmä¡t rqfiänd           by Plslntfi trom lha    d*tc of tltc colllalon to lhç tùne of
                              trlai   tno   Tn   ihe fr¡lurs, boyond thç tlnrc sf l¡lal;

                        f.     Lnetlçrgg andloenofwege+nrningæpuiSüßElnËS byllanliflfromth¡dÉle
                               ãi in* dtitilorr io iira tlxe ¿f u{rl anð in ihr fútum, be¡ænd tht llhô nl Hiaf and

                        g.
                        -      Mrccllaneü.ñ GxpqgËs snd lçam¡,lncluding mih4n, Pclklng' rcnhl car¡,
                                                                                                    taxl
                               fsr¿g and any olltcr fiqr¡E sf ¡p*$lal nerd'

                        Flåinlln elrlcs lhat hls lplrl danegar ¡hallnol exæed $200,000,00.


                                                                        4-
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                                                                      vilt;

                   Addltlonrtly, pleinllff would ehÐw thrt ha                 ll¡¡tly and    Þroparly notlfisd Def¡ndrnl of th¡

                                                                        MolorlÉt                           covrngr ofthe pollcy.     All
           racldenl and of hfc clairn under the unlnsulådrunderlnaurerl

                                              prËçdânt flscËóE¡ly lo                    lhr mrinlcrltnoa of thl¡ lrweul( heva
           0¡ooË of loEs and other condltions
                                                                                                   ¡tlll lalls
           bøen   patormtd or have ocrt ftêd, Neverth¡l¡cs, Drfrndanl hrl f¡lled ànd ¡ËflJssd. and
                                                                 pollcy              a¡          iF   ooôlücturlly tequireo lo do' lt k
           and rcfue6s, to pay Flalnllff any benellt$ undêr lhls
                                                                                            11




            Dafrndail'shandllngqfeuohcl¡lmftrwhlchPhlnliÛns'ÚËorflPlslns'
                                                                       lN,

                                                        SRE*0ä0Fqsf{ÎRÀdl.
                                                                               John N, Novlk, Jr,, $,1ß                              ¡n
                    A( lhê tJme of the ølligÍon msdt th¡ brsl¡ of this laweul\
                                                            are deflru'd þy lhc Policy of l¡su¡¡ncs lss¡,.d to
            "unlnsured/undarinsured d¡lvsl.. re lhose tarme
                                                                        ur{n¡uæd/U¡tl!ilmurêd Motorlst
            Ffelntltf by Þofcndsnt, FortunEloly, Pl¡lntlll hsd oblelnrd

            Beneftlu covör¡gÊ from the DafEnd¡nt lo oqver hl¡n ln                    thit bFc ol ¡ltualion end had paid the

            prcmiume on tha pollcy such that lhe insur¿næ vrr¡t ltt full fotos                           rnd ctrrc{ rt thr ilme of   thle


            collirion,
                                                                                                                 provlde the
                     Þ¡fend   a   nt   ha¡ breeClrød thelr aonlract rr/llh Flalntiff when hcy wlrolly fellerl lo

            contlaoluet ben¡fits únder the policy ln a timsly mnnner                    to Pldnt¡fl. Flsinlfff lfierefoË sr¡kc

            recovcry for ail damggrs hc i¡ entisød to          re   oovrl urrder eaid conlr¡cb Furth¡rmore ' Plainlltf pröy¡
                                                                                                                                            I

                                                               fgr¡ for the prepantiön, lrlal and aPpral 0f lhlE               oËu6ê ¡n
            for naeonable and n¡c6rsgry sflorrìty'r
                                                                                  pureunt lo tny tnd
            scoodanot wllh Texes Clvlt Plaotloog rnd RampdlsÈ Oodr 038.001 rndlor

            alJolhcr appllcable lawc or ¡låtulêÊ,




                                                                        .c.
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                                                                    x.

                                            HHft¡,*ü41#ElB*Ûss ìtqçl'ifiß$üfi
                                                                       ln rvalp¡tlng, lnvtetlgaffng qnd ¡rttllng
                   Defand¡nt owed pl¡i¡flff thü duty lo Ect r¡esonably

          hi¡ olrlm, D¡f!Ënü¡nt nagllgrntly breashd         6uÓh      duty. ôuøh nrgtlgenuc änd/or grose negllgence

          ls n   gorlnrtr      cauae of dameger to Heintllf'

                                                                    xl.

                                  nn$${,$r      nr¿nlqP. HoÍtP            P¡ttffi                   i



                                                  qf                   dsallng, Daft ndrnt has brosched thle
                   Þôf¡ndant owcs Flqlntllt s duty good f¡ith and f¡ir

           dury by dpnylng entlfor      dclryln! traymðnl ol unln¡urod/undçrlntund rnotorlsl bËmfltE du¡ under
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           th¡ pollcy, wllhor.t áfly rårsonabte bsslt rnd by
           prarntiffs crsrmo pñor ro euoh denrar/deray, 0rfsndant'¡ braach rna betn a produolng nnd/or

           proxlmale        $uså of actual üamrger,    lnJurlcs or harn to FlrTntÍf, Flalnlllf   ¡¡ok¡ bolh s¡lull   ild
           cr¡rnpl¡ry damrgns for thls braach'
                                                                     xll.

                                             DËcÉ¿[¡ìfqIFA0E FRfüÊtrcE$"AEr
                                                                                      pracllcer p¡ohiblted by
                    þefendnnt la guitìy of frþe, rnleloadlng rndfordoceptlvi ¡als rnd
                                                            hr¡ rngsgld ln tffi follolülry   unfah daorptlvl ¡cte or
           ÞTpA $1T,46¡b). sprcfircal¡ Defnndrnt
                                                whldr wqs Ê produclng caute ol Plrlntlff¡                  InJunÐ8 Ênd
           Frä'lhas ln th¡ Þu¡tnc¡s of in$nnc¡,
           damagæ as etated herein' fhey aru as lollolvs:

                    1   .       ccusing çonfu¡ion or mltundarrlrndlng *r to ltlt üùTr9.c' sPolðgrultlÊ T?.ry.91 or
                                oeilna¡hån ái rtrilt goods or awctr:-{Ttlt¡r 8üf,,8 Com. tod¡ üf?¡ö{ù}{fl)

                    2.          Rsfiüúenl¡ng fxalfi¡ soodsortsrvì'sts h?{       flS$ÐlhÞ,pfrov¡[ll'STipttio'
                                                                        utrkli th ey ds nat how qr lhe.t å prr¡s¡ had
                                ilåir¡b*ä;ïJüä, ùãfunb     or   q   u¡nr¡rics
                                * rponrJiil¡e, ãåãmwt, olatüs rlfillallnn, orocn-nsothnsltiah he dld nE[ {Toxa*
                                8ui, a üom,'Code ÊTT'46{b}l#}l

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                  3.      Reprcsontlng lhAtlb goodr       Þrtüvlç€$unnof* pgrtlcularftsndüd, quellty' #Adt'
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                          517.46(bX7ll
                                                                                        ae advorlisad; (Taxas Bus'
                  4,      Àdverllrífuçoods or3ervlffiFwllh lntcntnOltq e¡llthem
                          å 0sm. çadr $1r.{s{þ}ls}l

                  6.
                  Y'      H,ærossfi{lng $f,t Ën 8gnøîlsnl $ünfsr¡¡d o¡ lnvolvtd lqhti, ryedles or
                          .lñffitffiührctrticl¡ nc*nvrcrlnffilve ard/arere prahiblttdby bw fl'exs¡ Buc.
                          s-cin, Cöcs $1 ?.40{b)( 121}
                   B.     þlirroprcsanllnç lhe authorlty çf â üslstmtn, rãftËwntf,t{vs,
                                                                            gus' & totn' 1l
                                                                                            EsðliP sgglltir
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                          iiränris laßnú rír ã ÀrnsürndñanrapHoni ffdms
                                     r




                   7,      Flöpres&nilng tlr*t a guaranlneff rlyf,tlantyconf*nad orlnr¡olwd tlghtr,orremcdlts
                                                h;vü;ihútsi Fess Ëm' t        Gom' Öodr $17'46ibl(20)l
                          ,*riärr lt á¡c *íoi

                   8,      fniling   dlgdÞû¡ tnf#nrEllon g*nrprnlng llra fotlcy$lch wus k¡çwn to [a{bnd¿ni
                                     to
                          ;ü¡iftil f¡Ñr.#t*ffut         lvtilr: tfie lqtõrü to trøuæ lhc ln¡r¡¡o€ lnts s lnn¡¡stl3a
                           ili¡i *rutd nûg úw.ËntrTçd hàJ ns hf*rtsllon þ*st dlttlosd¡ {Taxn*'sus, å
                           Cum. Coae' gf r.{Sfh }¡f ô1¡

                   9,




                                                                               qoUfsl of actlon thnl' to lhllr
                   10.     Odçndrnt, engaül*g ln un unnonsdon¡bh attlorl or
                           ¡n$rßø'¡änritËür, ioçxs¿vwúagg oT hlc{aokof lngwlrdga, eblllly-' 11ry1frnce, or
                           Ëipaaty to r groesiy unfrlr degrce; (Tcxgr Bi¡st & Com. Cadr $1I,$t{eX3))

                   11.     Dcfen{a¡¡Cusenrenþlcyrrunl ol¡naslorproJho              ln   yþl0tþn   of Tsxaa lnsu¡ancc
                           óóuà ctrsptø ü411       $a*til   BuE' & Con. code $17.õ0{a)(¿{}}

                    12.    Dofendanl mgaged In hlsc, nr{rl*dlng. fir deêËpl,vå çcls 3nd/çr Pnotlo*s thal
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                           thetr tnesie¡ iltiiO upon to hi¡ {rtrlnrinl ¡nd th¡t vfEl*tod.ã
                           strh¡t€¡ (Texar Bus, & Oom, Cocle $17-50(hll

                   Furthennom. Pl¡intilf herrby allqes lhEt rll Drf¡ndrnt'c eotlom ¡n ¡1E ¡ollcllallon ol        titl

            polfcy, lnvaallgelion of lho claim, deley ln p'eyrnant of bsn¡lFa undet th¿ pollcy tnd outrlght drnlal

            of eg¡ilr or ell of tfie bcnetltr lo whloh he w¡t tueily enlÌlled wËrê oomrnlttod knowlttgly rnd

                                                                -7
Dec/07/2010 6:02:41 PM                                                    MetLife 972                                                      1   1/18
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                                                                                                                  punlfiva)
          lnttntionaüy, Ae å ¡s*uh, Plelnllff               fa   antlllqd to addltlonal damagee (ulua sxsnphry or

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          of up to tvno tl¡¡lac the actuel darnasg¡ awudld'
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                     Defondant   IB   gultty of unfalr lnsunnoc prlEtlca0ln violelion of the Texa¡ lnsu¡ance Çods,
                                                                                                             p¡tvlsions
           and the   aþrul$,   boE rd ruleç,       rsgulåüons snd rules lncorporated by and/çr rgferehcBd by

                                                 g         and pro$mrtr csuso sf Flålnüfrs drmrgne'
           of the code. Thee¡ prscflaco hsvr bisn Þrodudng
                                                                       Ecls or pnctleaE ln the uuslnese ol
           spcclllp¿lly, DEfendrrtt ha¡ Ëng¡gåd ln unlslr ot dacapllvc

           insuranse lo lnclude. but not llmitod to:

           y#¡r¡ç¡n *r TeXn læp$Ê,ffi, Ët¡få.S*f,#$$

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                     e)        lnjury to crodlt end orcdlt rrpuullonl

                     f)        reggon¡bls and namcaary altomcyr          fslr   ae prcvidcd þy    liw;

                     0)        costs of court snd lhe Éxpânset of lltþation;

                     h)        FrÉ.JudgrflÖnl and post fudgmcnl ¡fll!ËÚt;


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                                  2)          lhe qubþot      n¡lter of lhc expeil* t'stimony,
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                         Fax Cavsr Shest

         To:              Amy C, V/elborn

         Fa>r:            512-687 -6990

         Pages:           18 (includes thís page)

         From:            Russ Davis @         Metlife
                          Ph: 800-854-6011x5515
                          Fax: 866-947-4212

         Date             DtaT   116


         My Claim #: D4E37945

         RE: V/itliam G, Hendrix vs. Metropolitan              Lloyds
                   Insr¡rance ComPanY Of Texas                                  .l




         ACTIOI.{: Metropolitan uiâs sçrved 12101116, Kindly
                   file a timelY Answer on behalf of
                   Metropolitan' Kindly seek rernoval from
                   State District Court to USDC. Also' move
                   to sever and/or abate the Bad Faith and/or
                   Exfra Contractu¿l allegations.
